     Case 3:12-cr-00088-DCB-FKB            Document 159         Filed 11/27/12      Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                       JACKSON DIVISION


UNITED STATES OF AMERICA                                                               PLAINTIFF


VS                                                  CRIMINAL ACTION NO. 3:12cr88DCB-FKB


BOOKER TARVIN a/k/a SHANKY                                                           DEFENDANT


                       AGREED PRELIMINARY ORDER OF FORFEITURE


       PURSUANT to a separate Plea Agreement between BOOKER TARVIN, a/k/a SHANKY,

by and with the consent of his attorney, and the UNITED STATES OF AMERICA (hereinafter

"the Government"), BOOKER TARVIN, a/k/a SHANKY agrees that the following findings are

correct, and further agrees with the adjudications made herein. Accordingly, the Court finds as

follows:


       1.        The defendant is fully aware of the consequences of having agreed to forfeit to the

Government his interests in and to the hereinafter described property, having been apprised of such

by his attorney and by this Court; and he has freely and voluntarily, with knowledge of the

consequences, entered into a Plea Agreement and Plea Supplement with the Government to forfeit

such property.

       2.        The defendant agrees the following property:

                 (1)    1618 Cox Street, Jackson, Hinds County, Mississippi:

                        Lot 17, Block 16, College Park Addition, Part Two (2), a
                        subdivision according to the map or plat thereof which is
                        on file and of record in the office of the Chancery Clerk
                        of Hinds County at Jackson, Mississippi, in Plat Book 4
                        at Page 37, reference to which is hereby made; and

                 (2)    $1,500.00 in United States Currency
    Case 3:12-cr-00088-DCB-FKB             Document 159        Filed 11/27/12      Page 2 of 5




constitutes or was derived from proceeds that the defendant obtained, directly or indirectly, as a

result ofthe offenses charged in Count 1 of the Indictment and/or was used, or intended to be used,

in any manner or part, to commit, or to facilitate the commission of the offenses charged in Count

1 ofthe Indictment and/or was involved in the offense charged in Count 1 of the Indictment. Such

property is, therefore, subject to forfeiture pursuant to 21 U.S.C. § 853.

       3.      The defendant has been apprised that Rule 32.2 of the Federal Rules of Criminal

Procedure, and Title 18, United States Code, Section 982 require the Court to order the forfeiture

of the following property:

               (1)     1618 Cox Street, Jackson, Hinds County, Mississippi:

                       Lot 17, Block 16, College Park Addition, Part Two (2), a
                       subdivision accordingto the map or plat thereof which is
                       on file and of record in the office of the Chancery Clerk
                       of Hinds County at Jackson, Mississippi, in Plat Book 4
                       at Page 37, reference to which is hereby made; and

               (2)     $ 1,500.00 in United States Currency.

at,and as a part of, the sentencing proceeding. The defendant does herebywaive such requirement

andthe requirementthat the forfeiture be made a part ofthe sentence as orderedby the Court in the

document entitled, "Judgment in aCriminal Case." The defendant and his attorney further move the

Court to enter this order immediately, and agree that the forfeiture ordered hereunder will be a part

of the sentence of the Court whether ordered at that proceeding or not and whether or not attached

as a part of the said Judgment in the Criminal Case.
Case 3:12-cr-00088-DCB-FKB   Document 159   Filed 11/27/12   Page 3 of 5
Case 3:12-cr-00088-DCB-FKB   Document 159   Filed 11/27/12   Page 4 of 5
Case 3:12-cr-00088-DCB-FKB   Document 159   Filed 11/27/12   Page 5 of 5
